           Case 2:12-cr-00237-JCC          Document 1031       Filed 10/31/17     Page 1 of 1




                                                     THE HONORABLE JOHN C. COUGHENOUR
 1

 2

 3

 4

 5

 6
                               UNITED STATES DISTRICT COURT
 7
                              WESTERN DISTRICT OF WASHINGTON
 8                                      AT SEATTLE

 9           UNITED STATES OF AMERICA,                      CASE NO. CR12-0237-JCC
10                            Plaintiff,                    MINUTE ORDER
11                 v.

12           DEMONTA M. HENRY,

13                            Defendant.
14

15          The following Minute Order is made by direction of the Court, the Honorable John C.
16   Coughenour, United States District Judge:
17          This matter comes before the Court on the parties’ stipulated motion to continue the
18   Defendant’s supervised release violations hearing (Dkt. No. 1028). Finding good cause, the
19   Court GRANTS the motion. The hearing scheduled for November 3, 2017 at 9:00 a.m. is
20   STRICKEN. The Clerk is DIRECTED to reschedule the hearing to January 16, 2018 at 9:00 a.m.
21          DATED this 31st day of October 2017.
22                                                        William M. McCool
                                                          Clerk of Court
23

24                                                        s/Tomas Hernandez
                                                          Deputy Clerk
25

26



     MINUTE ORDER CR12-0237-JCC
     PAGE - 1
